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       The Court reviewed Plaintiff's counsel's request for fees related to this

enforcement action. See Doc. 29-1. The descriptions of the legal work and number of

hours spent by counsel are both fair and reasonable. As for counsel's hourly rates, Mr.

Scott's rate of $290.00 per hour and Mr. Wisley's rate of $260.00 per hour are both

reasonable. Mr. Wooten's hourly rate of $425.00 per hour is somewhat excessive when

compared to the cost of comparable legal services in the Northwest Arkansas legal

market; accordingly, the Court reduces Mr. Wooten's rate to $350.00 per hour, which

results in net decrease of $105.00 from counsel's bill. This means that the total approved

fee award for bringing this enforcement action is $4,858.00. The Court also approves a

copying charge of $4.65, which appears on counsel's bill. Therefore, the total amount of

fees and costs owed to Plaintiff by Defendants, jointly and severally, is $4,862.65. This

amount is contractually owed pursuant to the parties' settlement agreement and

promissory note, and it is to be paid immediately.

      As for Plaintiff's counsel's suggestion that the Court tack on another $532.35 in

fees for attorney work "estimated" to have been performed since September 1, 2021, the

Court declines the suggestion. This estimated additional fee is not substantiated by any

time records. Moreover, the Court finds a total fee and cost award of $4,862.65 is

reasonable under the circumstances.

      IT IS THEREFORE ORDERED that Plaintiff Coastal Energy Corporation's Motion

for Attorney's Fees (Doc. 29) is GRANTED, and Defendants, jointly and severally, are

ordered to immediately pay Plaintiffs reasonable attorneys' fees and costs in the total

amount of $4,862.65.




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